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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

[| Original Plan
[mj 4th Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
[| Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
DEBTOR: Jefferson D Auvil JOINT DEBTOR: Tammie L Auvil CASE NO.: 18-19185-EPK
SS#: xxx-xx- 7519 SS#: xxx-xx-2311
1 NOTICES
To Debtors: Plans that do not comply with local rules and judicial xulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(S}, 3015-1(B\(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors; Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section IIL, which may result in a

partial payment or no payment at all to the secured creditor [im] Included [J Not included

 

 

 

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [1] Inctuded [im] Not included
out in Section IIT
Nonstandard provisions, set out in Section VII [| Included [ms] Not included

 

 

i. PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trusice’s
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. ($787.80 formonths 1 to_5_;
2. $806.50 formonths 6 to 31 ;
3. $806.51 for months 32 to_60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: ["] NONE [] PRO BONO
Total Fees: $4025.00 Total Paid: $1000.00 Balance Due: $3025.00
Payable $469.76 ‘month (Months 1 to 3)
Payable $135.24 ‘month (Months 6 to 10 }

Allowed fees under LR 2016-1(B)(2) are itemized below:
$525 inc $25 cost for m2value car

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

I. TREATMENT OF SECURED CLAIMS
A. SECURED CLAIMS: [fm] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a}(5)] Morigage(s)/Lien on Real or Persona! Property:
B. VALUATION OF COLLATERAL: [] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [|] NONE

 

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Debtor(s}: Jefferson D Auvil, Tammie L Auvil Case number: 18-19185-EPK
2, VEHICLES(S): [| NONE
1. Creditor; Northwest Fed CU Value of Collateral: $14,785.00 Payment
Address: 200 Springs St Amount of Creditor's Lien: _ $20,167.95 _ | Total paid in plan: $14,785.20
Hemdon, VA 20170 .
Last 4 Digits of Account No.: 8062 Interest Rate: 6.00% $246.42 /month {Months 1 to 60)

VIN: #4T1 BF 1FKOFU489602.

Description of Collateral:
2015 Toyota Camry _
Claim #2

 

Check one below:

a incurred 910 days or more pre-
petition

om incurred less than 910 days pre-
petition

 

 

 

 

 

3, PERSONAL PROPERTY: [lf] NONE

C. LIEN AVOIDANCE [m] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
(| NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[I] NONE

[B. The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor{s)' state law contract rights.

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' Select Portfolio Sveg 0744 homestead located at 337 SW Thornohil, PSL, FL 34984

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a\X4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [i] NONE
B. INTERNAL REVENUE SERVICE: [] NONE

 

 

Total Due: $25,160.79 Total Payment $25,160.79
Payable: $334.52 fmonth (Months 6 to 10 )
Payable: $469.76 ‘month (Months 11 to 31 )
Payable: $469.77 ‘month (Months 32 to 60_)

 

C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
Dp. OTHER: [m| NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $17.00 /month (Months 6 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

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VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.
[] NONE
fig] Unless provided for under a separate section, the debtor(s)} request that upon confirmation of this plan, the automatic stay be
terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors, Nothing
herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Collateral Acct. No. (Last 4 Digits) Assume/Reject
Lincoln Automotive Fin Srvc 2016 Ford F150 2322 ,
1. Claim #1 fl] Assume [7] Reject

 

VIL INCOME TAX RETURNS AND REFUNDS: [i} NONE
VI. NON-STANDARD PLAN PROVISIONS [mi] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Jefferson D Auvil Date Tammie L Auvil Date
/sf Drake Ozment, Atty for Debtor October 4, 2018
Attorney with permission to sign on Date

Debtor(s) behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan

contains no nonstandard provisions other than those set out in paragraph VILL

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